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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 IRA BURDELL WAKEFIELD,
        Petitioner,                                     MEMORANDUM DECISION AND
                                                        ORDER DENYING PETITIONER’S
                                                        MOTION UNDER 28 U.S.C. § 2255
                                                        TO VACATE, SET ASIDE, OR
                                                        CORRECT SENTENCE BY A
                                                        PERSON IN FEDERAL CUSTODY


                vs.


 UNITED STATES OF AMERICA,                              Civil Case No. 2:11-CV-76 TS
        Respondent.                                     Criminal Case No. 2:08-CR-156 TS




       This matter is before the Court on Petitioner Ira Burdell Wakefield’s Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody. For the

reasons discussed below, the Court will deny the Motion and dismiss this case.

                                       I. BACKGROUND

       On March 19, 2008, Petitioner, along with his co-defendant Christopher Noah Mollner,

was charged with one count of aiding and abetting a bank robbery in violation of 18 U.S.C. §§ 2

and 2113(a), (d). Petitioner proceeded to trial on April 7, 2009. On April 9, 2009, the jury




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returned a guilty verdict against Petitioner. Petitioner was sentenced, on July 1, 2009, to 110

months imprisonment. Judgment was entered on July 8, 2009.

       Petitioner appealed his conviction. On appeal, Petitioner argued that there was

insufficient evidence to sustain his conviction. The Tenth Circuit Court of Appeals affirmed and

issued its mandate on September 3, 2010.

       Petitioner timely filed his § 2255 Motion on January 20, 2011. In his Motion, Petitioner

raises claims for ineffective assistance of counsel, violation of due process, prosecutorial

misconduct, and violation of the Fourth Amendment. Petitioner’s claims have several subclaims,

each of which will be discussed below.

                                         II. DISCUSSION

       Petitioner brings claims for ineffective assistance of counsel, violation of due process,

prosecutorial misconduct, and violation of the Fourth Amendment. Respondent argues that

Petitioner’s ineffective assistance claims fail and that all other claims are procedurally barred.

The Court will first address whether Petitioner’s due process, prosecutorial misconduct, and

Fourth Amendment claims are procedurally barred before turning to the merits of Petitioner’s

ineffective assistance of counsel claims.

A.     PROCEDURAL BAR

       Respondent argues that Petitioner’s due process, prosecutorial misconduct, and Fourth

Amendment claims are procedurally barred.




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        The Supreme Court has ruled that, because “a final judgment commands respect,” it has

“long and consistently affirmed that a collateral challenge may not do service for an appeal.”1

Generally, “§ 2255 is not available to test the legality of matters which should have been raised

on appeal.”2 “When a defendant fails to raise an issue on direct appeal, he is barred from raising

the issue in a § 2255 proceeding, unless he establishes either cause excusing the procedural

default and prejudice resulting from the error or a fundamental miscarriage of justice if the claim

is not considered.”3 Petitioner has not asserted a fundamental miscarriage of justice.4 Therefore,

the Court considers whether Petitioner can show cause and prejudice.

        “A defendant may establish cause for procedural default by showing he received

ineffective assistance of counsel.”5 In this instance, Petitioner blames his trial counsel for failing

to raise his due process, prosecutorial misconduct, and Fourth Amendment claims. Broadly

construing these statements as an allegation that counsel was ineffective in failing to raise these

claims on direct appeal, the Court finds that they are merely conclusory and fail “to prove cause

for failing to raise [these] issue[s] on direct appeal.”6



        1
            United States v. Frady, 456 U.S. 152, 165 (1982).
        2
        United States v. Khan, 835 F.2d 749, 753 (10th Cir. 1987); United States v. Warner, 23
F.3d 287, 291 (10th Cir. 1994).
        3
            United States v. Cox, 83 F.3d 336, 341 (10th Cir. 1996).
        4
        In order to establish a “fundamental miscarriage of justice,” Petitioner must make a
colorable showing of innocence. See Sawyer v. Whitley, 505 U.S. 333, 339-40 (1992).
        5
            Cox, 83 F.3d at 341.
        6
            Id.

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        Assuming that these allegations are sufficient to raise the issue of cause, the Court must

consider whether counsel was ineffective. In considering ineffective assistance claims, the Court

considers the familiar two-prong test established in Strickland v. Washington.7 In order to

establish a successful claim for ineffective assistance of counsel, Petitioner must show (1) that

counsel’s performance was deficient; and (2) that this deficient performance was prejudicial.8

        When the basis of an ineffective-assistance claim is the failure by appellate counsel to

raise an issue on appeal, “we must look to the merits of the omitted issue.”9 “If the omitted issue

is without merit, then counsel’s failure to raise it is not prejudicial, and thus is not ineffective

assistance.”10 If counsel was not ineffective in failing to raise a claim on appeal, a defendant

cannot satisfy the cause requirement to excuse his procedural default of the claim.11

        1.         Due Process

        In his due process claim, Petitioner alleges that: (1) the government withheld

surveillance video taken at a nearby store; (2) the government withheld a police interview of

Petitioner and corresponding FBI reports; (3) the government failed to disclose police dash-cam

videos and reports; (4) a photo line-up was not presented; (5) all dispatch and 911 calls were



        7
            466 U.S. 668 (1984).
        8
            Id. at 687.
        9
            United States v. Orange, 447 F.3d 792, 797 (10th Cir. 2006).
        10
             Id.
        11
         United States v. Challoner, 583 F.3d 745, 750 (10th Cir. 2009) (holding that petitioner
had “not demonstrated that his attorney was ineffective” and, thus, had “failed to show cause
excusing the procedural default”).

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missing; (6) he did not receive all information concerning warrants related to cell phones; and (7)

he never received discovery concerning his co-defendant.

       Through his Motion, it appears that petitioner is attempting to assert a claim that the

prosecution withheld exculpatory evidence in violation of Brady v. Maryland.12 “In order to

establish a Brady violation, a habeas petitioner must show that: (1) the prosecution suppressed

evidence; (2) the evidence was favorable to the accused; and (3) the evidence was material to the

defense.”13 The “touchstone of materiality is a reasonable probability of a different result, which

exists when the government’s evidentiary suppression undermines confidence in the outcome of

the trial.”14 With this standard in mind, the Court will consider each piece of evidence the

government allegedly failed to disclose.

       Petitioner first argues that the government withheld surveillance video taken from a

nearby store. This surveillance video allegedly showed Petitioner as the driver of the suspect

vehicle. Petitioner opines that the video does not in fact show him or it would have been used at

trial. Petitioner’s claim fails on the third Brady prong set forth above. Petitioner’s defense at

trial was that the government’s evidence was insufficient.15 Surveillance video of a nearby store,

even if it did not show Petitioner, would not have been material to his defense. Such evidence,




       12
            373 U.S. 83 (1963).
       13
            Snow v. Sirmons, 474 F.3d 693, 711 (10th Cir. 2007) (citation omitted).
       14
         Trammell v. McKune, 485 F.3d 546, 551 (10th Cir. 2007) (quotation marks and citation
omitted).
       15
            Docket No. 12-1, ¶ 11.

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even if it did exist and was withheld by the government, does not create a reasonable probability

of a different result.

        Petitioner next contends that the government failed to provide a recording of an interview

conducted with Petitioner and corresponding FBI reports. This claim also fails the materiality

test. The government has represented, and Petitioner has not disputed, that Petitioner refused to

speak to law enforcement and, thus, any interview and FBI reports would not contain material

information.

        Petitioner also argues that arrest reports and dash-cam videos were not provided.

However, the government has stated, and Petitioner has not contested, that this evidence was

provided in discovery. Petitioner’s trial counsel confirms that the government provided all

discovery materials.16 Indeed, the Utah Highway Patrol video of the stop was presented at trial.

Thus, Petitioner has provided nothing but conclusory allegations that the government actually

suppressed this evidence. Additionally, any other dash-cam videos would have been duplicative

of the dash-cam videos provided. Therefore, they could not be considered material.

        Petitioner’s final three arguments are that he did not receive information relating to a

photo line-up, that he did not receive all information related to the warrant, and that he did not

receive discovery relating to his co-defendant. As stated, however, the evidence presented shows

that Petitioner and his counsel were provided all discovery. Therefore, there is nothing to

substantiate the claim that the government withheld any material evidence. Nor has Petitioner

shown that any of this evidence was material.


        16
             Id. ¶¶ 3-4.

                                                  6
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       Based on the above, the Court finds that all of Petitioner’s due process claims are without

merit. As these claims are without merit, counsel was not ineffective for failing to raise them on

appeal and Petitioner has not shown cause to overcome his procedural default.

       2.        Prosecutorial Misconduct

       Petitioner’s next set of claims concern prosecutorial misconduct. To succeed on a claim

of prosecutorial misconduct, Petitioner must show that “there was a violation of [his] federal

constitutional rights which so infected the trial with unfairness as to make the resulting

conviction a denial of due process.”17

       Petitioner argues that the prosecution: (1) falsely portrayed and/or presented evidence in a

fraudulent manner; (2) tampered with and falsely portrayed evidence in a fraudulent manner; and

(3) withheld favorable evidence. The Court will address each claim in turn.

       Petitioner’s first argument concerns a statement made by the prosecution during closing

arguments. Petitioner asserts that during closing arguments, the prosecutor stated “This phone,

the only phone taken was the defendants [sic] and it shows his whereabouts that day.”18

Petitioner argues that multiple phones were taken and that, by his statement, the prosecutor lied

to the Court and to the jury.

       A review of the transcript of the closing argument reveals that the prosecutor made no

such statement. Rather, the prosecutor commented that Petitioner’s phone, a silver Motorola




       17
            Fero v. Kerby, 39 F.3d 1462, 1473 (10th Cir. 1994).
       18
            Docket No. 1, Supplement Ex. C, at 1.

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Razr, was found in the van and that evidence from cell phone towers showed the phone followed

a particular course around the time of the robbery.19

        This statement was based on the testimony of Detective Hubbard. Detective Hubbard

testified that Petitioner had requested that officers retrieve his cell phone from the dash of the

van.20 As there were two cell phones on the dash, Detective Hubbard sought clarification and

Petitioner indicated that the silver Motorola Razr was his phone.21 Thus, the prosecutor’s

comment concerning the phone was entirely consistent with the evidence presented at trial.

Therefore, the Court can find no prosecutorial misconduct in this instance.

        Petitioner’s second argument concerns the prosecutor’s statements regarding a coat worn

by Petitioner. Petitioner argues that the prosecutor showed the jury the coat worn by his co-

Defendant at the time of his arrest and portrayed the coat as being worn by Petitioner. Such a

statement is also supported by the record. The evidence presented at trial was that an individual,

identified as Petitioner, purchased a BB gun at a Wal-Mart store while wearing a dark blue

jacket. There was also evidence presented that, at the time of his arrest, Petitioner’s co-defendant

was wearing an identical jacket. Thus, there is no prosecutorial misconduct in drawing the jury’s

attention to the jacket.

        Petitioner’s final contention is that the prosecution withheld favorable evidence.

Petitioner does not cite to any particular piece of evidence that he believes the government failed


        19
             Docket No. 96, at 255-59.
        20
             Docket No. 95, at 139.
        21
             Id.

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to provide. To the contrary, as set forth above, Petitioner’s counsel represents that all discovery

was provided. Therefore, this claim is without merit.

        Based on the reasoning set forth above, the Court finds that Petitioner’s prosecutorial

misconduct claims are without merit. As these claims are without merit, counsel was not

ineffective for failing to raise them on appeal and Petitioner has not shown cause to overcome his

procedural default on these claims.

        3.         Fourth Amendment

        Petitioner claims that: (1) the stop was illegal; (2) a government witnesses committed

perjury; (3) the police tampered with evidence and with the crime scene; and (4) the police

illegally used seized cell phones to obtain a warrant.

        Petitioner first argues that his stop was unlawful. “A traffic stop is a seizure within the

meaning of the Fourth Amendment.”22 The Court analyzes such stops under the principles set

out in Terry v. Ohio.23 “To determine the reasonableness of an investigative detention, we make

a dual inquiry, asking first ‘whether the officer’s action was justified at its inception,’ and second

‘whether it was reasonably related in scope to the circumstances which justified the interference

in the first place.’”24

        “It is well settled that an investigative stop is justified where police officers have a

reasonable, articulable suspicion that the detainee has been, is, or is about to be engaged in


        22
             United States v. Botero-Ospina, 71 F.3d 783, 786 (10th Cir. 1995).
        23
             Id. (citing Terry v. Ohio, 392 U.S. 1 (1968)).
        24
             Id. (quoting Terry, 392 U.S. at 20).

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criminal activity.”25 “The presence of reasonable suspicion is not determined by any one factor,

but by the totality of the circumstances.”26

        Reasonable suspicion is a less demanding standard than probable cause not only
        in the sense that reasonable suspicion can be established with information that is
        different in quantity or content than that required to establish probable cause, but
        also in the sense that reasonable suspicion can arise from information that is less
        reliable than that required to show probable cause.27

“Thus, as long as [the officer] has a particularized and objective basis for suspecting an

individual may be involved in criminal activity, he may initiate an investigatory detention even if

it is more likely than not that the individual is not involved in any illegality.”28

        In this instance, it is clear that the stop was justified at its inception and was reasonably

related in scope to the circumstances which justified the interference in the first place. The

evidence presented at trial was that Sergeant Nelson received an attempt to locate call shortly

after noon on the day the credit union was robbed. Dispatch “put out an attempt to locate for two

armed robbery suspects driving a white newer model minivan with a black stripe down the

side.”29 The call indicated that the robbery had occurred at approximately 11:15 a.m. and, from

experience, the officer knew that it took about an hour and 15 minutes to travel the distance




        25
             United States v. Elkins, 70 F.3d 81, 83 (10th Cir. 1995).
        26
             Id. (quotation marks and citations omitted).
        27
             United States v. Tuter, 240 F.3d 1292, 1296 n.2 (10th Cir. 2001).
        28
             Johnson, 364 F.3d at 1194.
        29
         Docket No. 95, at 64. This description matches a description of the suspect vehicle
given by another witness at trial, Mr. Verhoef.

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between the location of the robbery and the location of the officer. Thus, if the suspects were

headed in his direction, the officer reasoned that he would see them shortly.

       Shortly after receiving the attempt to locate call, Sergeant Nelson “noticed a white newer

model minivan with a black stripe down the side with two males in the front seats.”30 Sergeant

Nelson proceeded to follow the vehicle, but did not want to initiate a stop until backup arrived

because it was reported that the suspects were armed. When Sergeant Nelson began following

the van, the van “suddenly veered off the road across the oncoming lane of traffic and went into a

view area and came to a sudden stop.”31 The driver, identified as Petitioner, got out of the car

and threw open the passenger door on the driver’s side. The officer believed that he was “going

for a weapon.”32

       Because of this sudden stop, the fact that it was reported that the suspects were armed,

and Petitioner’s sudden emergence from the van, Sergeant Nelson got out of his car, drew his

weapon, and told Petitioner to put his hands up. The officer then ordered the passenger out of the

vehicle and ordered both the driver and passenger to the ground.

       Based on this evidence, the Court finds that the officer had reasonable suspicion to stop

the vehicle. The officer had received a call indicating that a robbery had occurred and that two

armed suspects were traveling in a white, newer model minivan with a black stripe down the

side. The officer saw a van matching the description of the suspect vehicle and began to follow it


       30
            Id. at 66.
       31
            Id.
       32
            Id. at 68.

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when the driver made erratic movements and jumped out of the vehicle. The Court finds that this

constitutes reasonable suspicion to initiate a stop.33 The Court further finds that the methods

used, such as Sergeant Nelson drawing his weapon, were reasonably related in scope to the

circumstances that justified the interference in the first place and the events thereafter.

Therefore, the Court finds that Petitioner’s Fourth Amendment claim on this ground is without

merit.

         Petitioner’s next contention is that Sergeant Nelson committed perjury. Petitioner states

that Sergeant Nelson testified that he only entered the vehicle one time, but the dash-cam video

shows him enter the vehicle three times. The Court has reviewed the transcript and cannot find

any testimony from Sergeant Nelson indicating that he only once entered the suspect vehicle. In

any event, the dash-cam video was played for the jury and was entered into evidence. Thus, the

jury had the ability to view the video and compare it with Sergeant Nelson’s testimony and assess

the officer’s credibility in light of any inconsistent statement. Therefore, this argument is without

merit.

         Petitioner’s third argument is that Sergeant Nelson tampered with the crime scene by

removing the weapon from the vehicle. The Court is unable to see how the securing of the

weapon violated Petitioner’s Fourth Amendment rights. This action by the officers seems only

sensible considering the circumstances. Therefore, this argument is without merit.




         33
         The Court notes that the officer did not actually initiate the stop and that Petitioner
voluntarily stopped the vehicle. Regardless, the Court finds that reasonable suspicion existed to
effectuate a stop.

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         Petitioner’s final argument is that the officers who searched the vehicle actually seized

four cell phones, not just two. Petitioner also alleges that the officers used these cell phones to

gather evidence prior to obtaining a warrant. This argument, however, is not based on anything

but Petitioner’s conclusory statements and suppositions. Therefore, the Court finds it is without

merit.

         Based on the discussion set forth above, the Court finds that Petitioner’s Fourth

Amendment claims are without merit. As these claims are without merit, counsel was not

ineffective for failing to raise them on appeal and Petitioner has not shown cause to overcome his

procedural default on these claims.

B.       INEFFECTIVE ASSISTANCE

         Petitioner also brings a number of ineffective assistance of counsel claims. As stated, to

prevail on an ineffective assistance claim, Petitioner must show (1) that counsel’s performance

was deficient; and (2) that this deficient performance was prejudicial.34

         First, Petitioner must show that counsel functioned deficiently.35 “This requires showing

that counsel made errors so serious that counsel was not functioning as the ‘counsel’ guaranteed

by the Sixth Amendment.”36 Second, he must show that counsel’s deficient functioning

prejudiced Petitioner’s defense.37 “This requires showing that counsel’s errors were so serious as



         34
              Strickland, 466 U.S. at 687.
         35
              Id.
         36
              Id.
         37
              Id.

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to deprive [Petitioner] of a fair [proceeding], . . . whose result is reliable.”38 Without both of

these showings, Petitioner may not prevail in arguing that his conviction “resulted from a

breakdown in the adversary process that renders the result unreliable.”39

       A Court is to review Petitioner’s ineffective assistance of counsel claim from the

perspective of his counsel at the time he or she rendered the legal services, not in hindsight.40 In

addition, in evaluating counsel’s performance, the focus is “not what is prudent or appropriate,

but only what is constitutionally compelled.”41 Finally, there is “a strong presumption that

counsel provided effective assistance, and a section 2255 defendant has the burden of proof to

overcome that presumption.”42

       Petitioner first argues that counsel was ineffective for failing to file a motion for

discovery. As set forth above in relation to his due process claim, Petitioner alleges that the

government failed to provide certain information. However, as discussed, Petitioner has failed to

show that the government failed to provide any material evidence. Further, the prosecution in the

case had an open file policy and Petitioner’s trial counsel has indicated that the government

complied with this policy.43 As a result, no motion for discovery was necessary and the Court



       38
            Id.
       39
            Id.
       40
            Hickman v. Spears, 160 F.3d 1269, 1273 (10th Cir. 1998).
       41
            United States v. Cronic, 466 U.S. 648, 665 n.38 (1984).
       42
            United States v. Kennedy, 225 F.3d 1187, 1197 (10th Cir. 2002) (citation omitted).
       43
            Docket No. 12-1, ¶¶ 3-4.

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cannot find that counsel’s performance was deficient. Additionally, as there is nothing to suggest

that material evidence was withheld, Petitioner has failed to show that any failure to file a motion

for discovery was prejudicial.

       Petitioner next argues that counsel was ineffective for failing to file certain motions,

specifically a motion to suppress, a motion for evidentiary hearing, and a motion for subpoenas.

As set forth above in relation to Petitioner’s Fourth Amendment claim, there were no grounds on

which to file a motion to suppress based on the stop of the vehicle. Petitioner’s counsel, after

reviewing the relevant discovery, reached this same conclusion.44 Petitioner has cited to no other

evidence that he believes should have been the subject of a suppression motion. Therefore, the

Court cannot find that counsel’s performance was deficient in this regard. As for other

evidentiary motions, Petitioner has failed to identify what motions counsel should have filed and

how they may have impacted his case. Therefore, Petitioner has failed to show prejudice.

Petitioner’s claim that counsel should have filed a motion for subpoenas fails for the same

reason. Petitioner has failed to set forth who counsel should have subpoenaed, what their

testimony would be, and how it would have benefitted him. Without more, Petitioner cannot

prevail on an ineffective assistance claim.

       Petitioner’s third ineffective assistance claim is that counsel failed to follow-up on or

obtain evidence that Petitioner had requested. Petitioner specifically points to the surveillance

video from a nearby store and the dispatch and 911 calls. The surveillance video evidence is

discussed above and, for the reasons stated, the Court finds that the evidence is immaterial and


       44
            Id. ¶ 6.

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counsel was not ineffective for failing to obtain it. Further, Petitioner can show no prejudice. As

to the 911 and dispatch calls, there were no 911 calls as the case was initiated by the activation of

an alarm. Further, counsel has indicated that the contents of the dispatch calls were provided in

the police reports provided by the government.45 Thus, the Court cannot find counsel’s

performance to be deficient.

       Petitioner next argues that counsel was ineffective for not meeting with Petitioner to

discuss and view the video and photographic evidence that was ultimately presented at trial.

Counsel, however, indicated that he did discuss this evidence with Petitioner and that Petitioner

acknowledged the purchase of the BB gun and did not dispute the video evidence.46 Thus,

Petitioner acknowledged to his counsel that he did not need to view the video.47 Even if the

Court were to find deficient performance, Petitioner has provided nothing to suggest that this

alleged failure on the part of counsel prejudiced him in any way. Therefore, this argument fails.

       Petitioner also argues that counsel failed to adequately prepare for trial and/or keep

Petitioner appraised of his preparations. Counsel’s preparations for trial and his interactions with

Petitioner are detailed in his affidavit.48 Having been present at trial, the Court finds that counsel

was well prepared and provided Petitioner a vigorous defense. Petitioner has failed to point to

anything specific that counsel allegedly failed to do as a result of his inadequate preparation. Nor



       45
            Id. ¶ 10.
       46
            Id. ¶ 12.
       47
            Id.
       48
            Id. ¶¶ 13-14.

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has he shown how the alleged inadequate preparation and/or alleged failure to consult with

Petitioner has prejudiced him in any way. Therefore, the Court must reject this claim.

       Petitioner’s next argument is a continuation of the previous. Specifically, Petitioner

argues that his counsel failed to adequately prepare his case and points to instances where

counsel confused the name of Petitioner and his co-defendant, mistakenly stated the incorrect

name of the store where purchases were made, and referred to the credit union as a bank. The

Court cannot find that these misstatements constitute deficient performance. Even if counsel’s

performance in this regard was deficient, Petitioner has failed to show how these misstatements

prejudiced him. Therefore, the Court will reject this claim.

       Petitioner’s final ineffective assistance claim alleges that counsel violated the attorney-

client privilege and assisted the government in fixing a portion of the cell phone tracking map.

Petitioner is apparently referring to a map provided in discovery that contained a misprint of

Petitioner’s cell phone number. Petitioner’s claim, however, is based on mere speculation and is

unsupported by anything in the record. Therefore, the Court must reject this claim.

                                       III. CONCLUSION

       It is therefore

       ORDERED that Petitioner’s § 2255 Motion (Docket No. 1 in Civil Case No. 2:11-CV-

76) is DENIED. It is further

       ORDERED that, pursuant to Rule 8(a) of the Rules Governing § 2255 Cases, an

evidentiary hearing is not required.

       The Clerk of the Court is directed to close this case forthwith.


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    DATED May 10, 2012.

                                  BY THE COURT:


                                  _____________________________________
                                  TED STEWART
                                  United States District Judge




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